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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                      :      CRIMINAL NO. 24-

               v.                             :      DATE FILED: ______________

YANIV GOLA                                    :      VIOLATIONS:
                                                     18 U.S.C. § 875(c) (interstate
                                              :      communication of threats - 8 counts)


                                        INFORMATION

THE UNITED STATES ATTORNEY CHARGES THAT:

               At all times material to this information:

                                        BACKGROUND

               1.     Defendant YANIV GOLA was a resident of Philadelphia, Pennsylvania.

               2.     Defendant YANIV GOLA used a Voice over Internet Protocol (“VoIP”)

service provider to obtain telephone phone numbers that could be used from any smart phone,

tablet or desktop computer with an internet connection, despite having his own cellular telephone

number.

               3.     VoIP technology allows users to transmit the human voice using a

broadband internet connection instead of a cellular or analog telephone line. In addition, VoIP

technology permits users to mask their true telephone numbers – and thus, their true identities –

while making calls.

                             COUNTS ONE THROUGH EIGHT

               4.     On or about the dates listed below, in the Eastern District of Pennsylvania,

the District of New Jersey, the District of Delaware, and elsewhere, defendant
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                                           YANIV GOLA

knowingly, with the knowledge that the communications would be viewed as threats and for the

purpose of issuing threats, transmitted in interstate commerce communications, that is, electronic

communications transmitting his voice using a VoIP service, which contained threats to injure,

rape, and kill the victims as described below for each count, each communication constituting a

separate count:

 Count            Date            Victim                Threatening Communication

   1        August 2, 2022         G.M.      You better be careful, little bitch … you better be
                                             careful. We know where you live. And of course
                                             we know where you are … you better be careful.
                                             There is nothing you can do about it. Or the
                                             police. … I would be very careful. You don’t know
                                             who we are, but we know who you are, and we
                                             have your address. … Take it as a joke bitch …
                                             because you’re not going to be laughing. … We
                                             know your address. And the police can’t help you.
                                             And this is a threat. So go ahead and call the
                                             police. I would like to talk to the police right now.
                                             … You’re not going to be laughing when we’re
                                             done with you. So go ahead, keep going, keep
                                             talking. … When we’re done with you, you’re not
                                             going to be able to figure out anything.

   2         June 14, 2023         R.G.      You f*cking Jew, now I know where you are. I’m
                                             going to kill all you Jews. … you Jews are all so
                                             greedy. You all should be shoved back into ovens.
                                             … I’m going down to [R.G.’s business location] to
                                             kill you.

   3         June 15, 2023          T.G.     How’s [T.G.] doing? We love [T.G.]. We’re going
                                             to rape [T.G.]. [stating T.G.’s home address.]

   4         June 15, 2023         M.R.      I’m going to stick a dildo up your vagina and split
                                             it in two.

   5         June 16, 2023         R.K.      I want to put a bullet in your head … You f*cking
                                             Muslims.



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6     June 29, 2023         W.G.      Bitch, call the police, this is a threat … We’re
                                      going to cave in your skull with a baseball bat.

7   September 30, 2023       N.K.     I will come kill you, you better watch your back.

8   November 5, 2023        D.M.      You’re Jewish, I’m from Hamas. You’re animals
                                      and pigs. … If you don’t leave that place, we’re
                                      going to blow you up.


        All in violation of Title 18, United States Code, Section 875(c).




                                              JACQUELINE C. ROMERO
                                              UNITED STATES ATTORNEY




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No._ _ _ _ _ _ _ _ _ _
UNITED STATES DISTRICT COURT

                        Eastern District of Pennsylvania

                                   Criminal Division


            THE UNITED STATES OF AMERICA
                                                     vs.

                                           YANIV GOLA


                                    INFORMATION

  18 U.S.C. § 875(c) (interstate communication of threats - 8 counts)


                                            A true bill.

                    _____________________________________________________________________
                                          Foreperson

         Filed in open court this _________________________________day,
                Of ________________________A.D. 20_____________
          __________________________________________________________________________________________
                                          Foreperson

                                Bail, $ ___________________________
